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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 IN THE MATTER OF THE APPLICATION
 OF JASON LEOPOLD TO UNSEAL                                Misc. Action No. 13-mc-00712
 CERTAIN ELECTRONIC
 SURVEILLANCE APPLICATIONS AND                             Chief Judge Beryl A. Howell
 ORDERS.


                                             ORDER

          Upon consideration of petitioner Jason Leopold’s Petition to Unseal Records, ECF No. 1,

and petitioner Reporters Committee for Freedom of the Press’s Application to Unseal and for

Other Appropriate Relief, ECF No. 18 (collectively “petitions”), the related legal memoranda in

support of and opposition to these petitions, the exhibits and affidavits attached thereto, and the

entire record herein, for the reasons set out in the accompanying Memorandum Opinion, it is

hereby

          ORDERED that the petitions are GRANTED in part and DENIED in part; and it is

further

          ORDERED that the Clerk’s Office shall, on a prospective basis, periodically publish

certain docket information regarding applications filed by the U.S. Attorney’s Office for the

District of Columbia (“USAO”) for orders authorizing installation of Pen Register/Trap and

Trace devices, orders pursuant to 18 U.S.C. § 2703(d), and warrants pursuant to 18 U.S.C. §

2703(a)-(b), to the extent such applications are filed by the USAO electronically, as authorized

by the Memorandum of Understanding (“MOU”) between the USAO and Clerk of Court, dated

September 14, 2017, and updates thereto, and LCrR 49(e)(4); and it is further

          ORDERED that such publication shall disclose, consistent with the relief requested by

the petitioners, the total number of USAO-electronically filed applications, the captions for such
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applications, the case numbers assigned to such applications, the dates such applications were

filed, and the assigned Magistrate Judge; and it is further

       ORDERED that the petitions are DENIED in all other respects.

       SO ORDERED.



       This is a final and appealable order.



       Date: February 26, 2018



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                                                      BERYL A. HOWELL
                                                      Chief Judge
